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The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 17, 2022
______________________________________________________________________



                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

                                                                        )
         In re:                                                         )   Chapter 11
                                                                        )
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                                        )
                                           Reorganized Debtor.          )
                                                                        )

      ORDER APPROVING AMENDED STIPULATION AND PROPOSED SCHEDULING ORDER
          CONCERNING PROOF OF CLAIM NO. 146 FILED BY HCRE PARTNERS, LLC

                  Having considered the Amended Stipulation and Proposed Scheduling Order Concerning

     Proof of Claim No. 146 Filed by HCRE Partners, LLC [Dkt. No. 3356] (the “Amended

     Stipulation”), 2 a copy of which is attached hereto as Exhibit A, filed by Highland Capital

     Management, L.P. (“Highland” or the “Debtor”) and NexPoint Real Estate Partners, LLC f/k/a

     HCRE Partners, LLC (“HCREP”, and together with Highland, the “Parties”), IT IS HEREBY




     1
       The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
     service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
     2
         Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Amended Stipulation.
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ORDERED THAT:

         1.      The Amended Stipulation is APPROVED.

         2.      The Amended Stipulation shall become effective immediately upon entry of this

Order.

         3.      The following pre-trial schedule (the “Pre-Trial Schedule”), agreed to by the

Parties, shall govern with respect to Highland’s Claim Objection to Claim No. 146 of HCREP:




                                          Pre-Trial Schedule
         Event                                          Deadline
         1. Service of Written Discovery Requests       May 27, 2022
         2. Service of Written Responses to             June 27, 2022
         Discovery Requests
         3. Substantial Completion of Document          July 1, 2022
         Production
         4. Completion of Fact Discovery                August 1, 2022
         5. Expert Disclosure under Rule 7026           August 5, 2022
         6. Completion of Expert Discovery              August 19, 2022
         7. Deadline for filing Dispositive Motions     September 2, 2022
         8. Parties to exchange Witness and Exhibit October 25, 2022
         Lists
         9. Parties exchange objections to any          October 28, 2022
         witness or exhibit
         10. Evidentiary Hearing                        November 1, 2022 at 9:30 a.m.
                                                        (CST), continuing to November 2,
                                                        2022 as necessary


         4.      The Pre-Trial Schedule set forth in paragraph 3 of this Order shall only be modified

in a writing signed by the Parties or upon the entry of an order of the Court entered upon notice to

the Parties.

         5.      The Court shall retain jurisdiction over all disputes arising out of or otherwise

concerning the interpretation and enforcement of the Amended Stipulation and this Order.

                                        ###End of Order###
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                                 EXHIBIT A
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Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                )
    In re:                                                      )   Chapter 11
                                                                )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        )   Case No. 19-34054-sgj11
                                                                )
                                    Reorganized Debtor.         )
                                                                )


       AMENDED STIPULATION AND PROPOSED SCHEDULING ORDER CONCERNING
              PROOF OF CLAIM NO. 146 FILED BY HCRE PARTNERS, LLC

             This amended stipulation (the “Stipulation”) is made and entered into by and between

Highland Capital Management, L.P., the reorganized debtor in the above-referenced bankruptcy

case (“Highland” or the “Debtor”), and NexPoint Real Estate Partners, LLC f/k/a HCRE Partners,

LLC (“HCREP”, and together with Highland, the “Parties”), by and through their respective


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.




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undersigned counsel.

                                                  RECITALS


        WHEREAS, on October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware

Court”);

        WHEREAS, on December 4, 2019, the Delaware Court entered an order transferring venue

of the Debtor’s bankruptcy case (the “Bankruptcy Case”) to this Court [Docket No. 186];

        WHEREAS, on March 2, 2020, the Court entered its Order (I) Establishing Bar Dates for

Filing Claims and (II) Approving the Form and Manner of Notice Thereof [Docket No. 488] (the

“Bar Date Order”), 2 which, among other things, established April 8, 2020 at 5:00 p.m. Central

Time (the “General Bar Date”) as the deadline for all entities holding claims against the Debtor

that arose before the Petition Date to file proofs of claim;

        WHEREAS, on April 8, 2020, HCRE filed an unliquidated general unsecured proof of

claim which was denoted by the Debtor’s claims agent as claim number 146 (“Claim No. 146”);

        WHEREAS, on July 30, 2020, the Debtor filed its First Omnibus Objection to Certain (A)

Duplicate Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-

Liability Claims; and (F) Insufficient-Documentation Claims [Docket No. 906] (the “Claims

Objection”);

        WHEREAS, as part of the Claims Objection, the Debtor objected to Claim No. 146 on the

ground that it contended it had no liability;



2
 Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to them in the
Bar Date Order.


                                                        2
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        WHEREAS, on October 19, 2020, HCRE filed its response to the Claims Objection

[Docket No. 1212] (the “Response”);

        WHEREAS, on December 10, 2020, the parties entered into a Stipulation and Proposed

Scheduling Order Concerning Proof of Claim No. 146 Filed by HCRE Partners, LLC [Docket No.

1536] (the “Original Stipulation”);

        WHEREAS, on December 11, 2020, the Court entered an Order approving the Original

Stipulation [Docket No. 1568];

        WHEREAS, on April 14, 2021, the Debtor filed its Motion to Disqualify Wick Phillips

Gould & Martin LLP as Counsel to HCRE Partners, LCC and for Related Relief [Docket No.

2196], as later supplemented [Docket No. 2893] (the “Disqualification Motion”);

        WHEREAS, following discovery, briefing, and a hearing, on December 20, 2021, the

Court entered an Order granting in part, and denying in part, the Disqualification Motion [Docket

No. 3106] (the “Disqualification Order”);

        WHEREAS, following the entry of the Disqualification Order, the law firm of Hoge &

Gameros, L.L.P. filed a notice of appearance on behalf of HCRE Partners, LLC

        WHEREAS, the Parties have conferred and desire to amend the Original Stipulation as

specifically set forth below.

        NOW, THEREFORE, it is hereby stipulated and agreed, and upon approval of this

Stipulation by the Court, it shall be SO ORDERED:

        1.       The Parties agree to the following schedule (the “Proposed Joint Scheduling

Order”):




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                           Proposed Amended Joint Scheduling Order
       Event                                       Deadline
       1. Service of Written Discovery Requests    May 27, 2022
       2. Service of Written Responses to          June 27, 2022
       Discovery Requests
       3. Substantial Completion of Document       July 1, 2022
       Production
       4. Completion of Fact Discovery             August 1, 2022
       5. Expert Disclosure under Rule 7026        August 5, 2022
       6. Completion of Expert Discovery           August 19, 2022
       7. Deadline for filing Dispositive Motions  September 2, 2022
       8. Parties to exchange Witness and Exhibit October 25, 2022
       Lists
       9. Parties exchange objections to any       October 28, 2022
       witness or exhibit
       10. Evidentiary Hearing                     November 1 and 2, 2022


        2.       If approved by the Court, the Proposed Amended Joint Scheduling Order shall only

be modified in a writing signed by the Parties or upon the entry of an order of the Court entered

upon notice to the Parties.

        3.       The Court shall retain jurisdiction over all disputes arising out of or otherwise

concerning the interpretation and enforcement of this Stipulation.

                              [Remainder of Page Intentionally Blank]




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 Dated: June 9, 2022                PACHULSKI STANG ZIEHL & JONES LLP

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                                    -and-
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                                    -and-




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                                    NEXPOINT REAL ESTATE PARTNERS, LLC f/k/a
                                    HCRE PARTNERS, LLC


                                    /s/ Charles W. Gameros, Jr., P.C.
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